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 EXHIBIT B
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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



DONNA CURLING, ET AL.,

       Plaintiffs,
                                    CIVIL ACTION
           v.
                                    FILE NO. 1:17-cv-2989-AT
BRAD     RAFFENSPERGER,      ET
AL,

       Defendants.


            DECLARATION OF JUAN E. GILBERT, PH.D.
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       Pursuant to 28 U.S.C. § 1746, I, Juan E. Gilbert, make the following

declaration:

I.     BACKGROUND

      1.       My name is Juan E. Gilbert

      2.       I have been retained by Robbins Ross Alloy Belinfante Littlefield

LLC and Taylor English Duma LLP on behalf of the Georgia Secretary of State and

the State Election Board members. I have been asked to offer opinions regarding

the declarations and exhibits attached to Plaintiffs’ recent Motions for Preliminary

Injunction.

      3.       Specifically, I have reviewed the October 2, 2019 Declaration of J.

Alex Halderman, the Def Con 27 Voting Machine Hacking Village August 2019

Report, “Ballot-marking devices (BMDs) cannot assure the will of the voters”

authored by Andrew Appel, Richard DeMillo, and Philip Stark (the “Appel White

Paper”), the October 22, 2019 Declaration of Philip B. Stark, and the October 22,

2019 Declaration of Kevin K. Skoglund.

      4.       My background, experience and qualifications are set forth in my

curriculum vitae, which is attached as Exhibit A.          As demonstrated by my

curriculum vitae, I have over 20 years of post-graduate experience in the field of

computers generally, and since 2002 I have focused on technology in voting

systems, including the development of accessible voting systems.
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      5.     I currently hold the title of Andrew Banks Family Preeminence

Endowed Professor and Chair of the Computer & Information Science &

Engineering Department at the University of Florida where I also lead the Human

Experience Research (HXR) Lab. I have held the title of Department Chair at the

University of Florida since 2015 and joined the faculty there as Professor and

Associate Chair in 2014.

      6.     I have earned a Bachelor of Science in Applied Science from Miami

University in Oxford, Ohio (1991); a Master of Science in Computer Science from

the University of Cincinnati (1995); and a Doctor of Philosophy in Computer

Science from the University of Cincinnati (2000).

      7.     Prior to joining the University of Florida, I held the title of

Presidential Endowed Professor and Chair of the Division of Human-Centered

Computing at Clemson University in Clemson, South Carolina (2009-2014) and

also held the position of Graduate Program Director in the Division of Human-

Centered Computing (2010-2012). Additionally, I held the title of Professor (2009),

Associate Professor (2005-2009), and Assistant Professor (2000-2005) at Auburn

University in Auburn, Alabama. I was also a Visiting Instructor in the Miami

University (OH) Systems Analysis Department.

      8.     I was a member of the National Academies of Science, Engineering

and Medicine (“NASEM” or “National Academies”) Committee on the Future of


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Voting: Accessible, Reliable, Verifiable Technology which produced the report

“Securing the Vote: Protecting American Democracy.” Additionally, I participated

on NASEM Committees regarding developing interest in and mentoring in Science,

Technology, Engineering, Medicine, and Mathematics (“STEMM”).

      9.     In 2018, I was named a Fellow of the Association for Computing

Machinery, the highest honor awarded by the Association reserved for, at most, 1%

of ACM members in recognition of outstanding accomplishments in computing and

information technology.

      10.    At various times, I have also served as a reviewer for various

academic journals, including: Journal of Women and Minorities in Science and

Engineering, Computers & Security Journal, Journal of STEM Education, and the

International Journal of Artificial Intelligence in Education. I have also served on

multiple panels and committees for the National Science Foundation.

      11.    In 2012, I received the Presidential Award for Excellence in Science,

Mathematics, and Engineering from President Barack Obama. I have also received

awards from the American Association for the Advancement of Science (AAAS)

(2014) and the Computer Research Association (2018)

      12.    In my career, I have published more than 180 articles, delivered over

250 presentations and obtained more than $27 million in grants and funding in the

field of computer science, generally. Specifically, I also was selected to direct a


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three-year, $4.5 million project funded by the U.S. Election Assistance Commission

to increase the accessibility of new, existing, and emerging technological solutions

in the design of voting systems.

      13.     I have provided expert testimony to the Presidential Commission on

Election Administration and Technology (September 19, 2013), the U.S.

Congressional Committee on Rules and Administration, Bipartisan Electronic

Voting Reform Act of 2008 (July 30, 2008), and in the case National Federation of

the Blind v. Lamone, No. RBD-14-1631, 2014 WL 4388342 (D. Md. Sep. 4, 2014).

      14.     My research and work is currently focused in Human-Centered

Computing, Natural Interactive Systems, Artificial Intelligence, Machine Learning,

and Advanced Learning Technologies. Generally, my research focuses seek to

integrate people, technology, information, and policy to address real world

problems. Relatedly, I focus on creating user interfaces where a user can interact

with computer systems using speech and multimodality, and employing intelligent

strategies to personalize instruction to users.

      15.     In 2003, at the Auburn University Human Centered Computing Lab, I

conceived the Prime III Voting System. Prime III is an open-source paper-based

Ballot-Marking Device (“BMD”) Voting System which offers a secure, multimodal

electronic voting system that delivers system security, integrity, and user

satisfaction while accommodating all users with the same voting method, regardless


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of ability. I have continued refining and developing new advancements of this

voting system during my time at Clemson University and the University of Florida.

      16.    I created Prime III to advance the state of voting in the wake of the

2000 Presidential Election. Prime III was designed to be software independent by

using a paper ballot. The Prime III Voting System has been used in federal, state,

and local elections. The State of New Hampshire adopted the Prime III voting

system as their statewide accessible voting system and renamed it One4All.




II.    Georgia’s BMD System and Plaintiffs’ Requested Relief

       A.    Georgia’s BMD Voting System

      17.    I have reviewed documentation regarding the Dominion BMD Voting

System Georgia is implementing, I understand it to generally consist of the

following:

             A.    Dominion Election Event Designer Election Management

                   System (“Dominion EMS”).

             B.    Dominion Image Cast Prime X Ballot Marking Device and a

                   separately attached printer (“Dominion BMD”).

             C.    Dominion ImageCast Precinct Scanner and Tabulator

                   (“Dominion ICP”).

             D.    Paper for printing of paper ballots by the Dominion BMD (the


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                    “Paper Ballot”).

             E.     Dominion ImageCast Central which includes a Dell PC and a

                    separately attached high-speed scanner for use in elections

                    offices to process absentee ballots (“Dominion ICC”).

             F.     KNOWink Poll Pad Electronic Poll Book for voter check in and

                    creation of Voter Access Cards which store only ballot

                    combination information for voting on the Georgia BMD (“Poll

                    Pad”).

      18.    Precinct Voting. I understand Georgia’s BMD Voting System to

generally work as follows on election day: Voters will arrive and check-in with

poll-workers using the Poll Pad. The Voter will then be given a Voter Access Card

to take to the Dominion BMD. A Voter will then insert the Voter Access Card and

be presented with their ballot on the BMD screen. Voters will then select their

candidates on the BMD screen and the BMD will print a paper ballot reflecting

their selections from the attached printer. The paper ballot contains a human-

readable listing of voter selections and a QR Code encompassing the selections.

Voters then have the opportunity to review their ballot and will be instructed to do

so by posted signage. After reviewing their ballot, voters then insert the ballot into

the Dominion ICP to scan and record their vote. Importantly, there is no recording

of a voter’s selection on the Dominion BMD and the only device tabulating and


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“counting” votes is the Dominion ICP.

         19.   Pre-certification Audits. I understand that Georgia law requires local

election superintendents to conduct precertification tabulation audits conducted by

manual inspection of random samples of the official paper ballots. Importantly,

under Georgia law, the paper ballot is the ballot of record and controls in such an

audit.

         20.   Risk-Limiting Audits (“RLAs”). I understand that Georgia law also

requires the Secretary of State to conduct a risk-limiting audit pilot program with a

risk limit of not greater than ten percent. Upon successful completion of the Risk-

Limiting Audit pilot program, Georgia law requires state-wide implementation of

Pre-certification Risk-Limiting Audits. Again, the paper ballot is the ballot of

record and controls in the audit.

         21.   As an expert in the field, I believe that the process described herein is

consistent with best practices for conduct of elections and is consistent with the

recommendations produced by the National Academies Committee on the Future of

Voting: Accessible, Reliable, Verifiable Technology of which I was a member.

Accordingly, it is also consistent with that Committee’s report: “Securing the Vote:

Protecting American Democracy.”

         22.   Specifically, the Georgia BMD Voting System does not store a ballot

or ballot information on the Dominion BMD, the ballot only contains a human-


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readable summary and QR Code, the paper ballot is the official ballot of record, and

the ballot does not pass through a printer-head when scanning.

      23.     Moreover, the use of RLAs was strongly recommended by the

NASEM Committee on the Future of Voting. I think the pilot of an RLA system is

necessary before state-wide implementation to ensure its fidelity and integrity. I

understand that Georgia election officials have visited other jurisdictions to learn

from those election officials about the process of, and best practices for, conducting

an RLA.

      24.     Finally, the Dominion BMD System has been certified by the EAC

pursuant to the Voluntary Voting System Guidelines (“VVSG”) 1.0. I understand

that Plaintiffs complain the system has not been certified pursuant to the more

recent VVSG Standards (i.e. VVSG 1.1 or VVSG 2.0), but no election system in the

country has been certified under those standards.

       B.     Plaintiffs’ Requested Relief

      25.     I understand that there are two different sets of Plaintiffs in this case

seeking similar relief that is different in some respects. I will refer to the sets of

Plaintiffs as Curling Plaintiffs and Coalition Plaintiffs.

      26.     Curling Plaintiffs. I understand that Curling Plaintiffs ask this Court to

prohibit the State of Georgia from “using any system or devices for voting . . . that

does not use hand-marked paper ballots as the primary method of recording the


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elector’s votes” and require the State to provide a plan to the Court to comply with

that relief which includes pre-certification, post-election, manual tabulation audits.”

[Doc. 619-1].

       27.      Coalition Plaintiffs. I understand that Coalition Plaintiffs seek to

similarly require the State to conduct all elections using hand-marked paper ballots

as the primary method of recording electors’ votes. Coalition Plaintiffs further seek

to permit continued use of Georgia’s old optical scanners, provide expanded paper

back-ups of poll books and develop an auditing plan to be submitted to the Court

and Plaintiffs, among other requests.


III.   THE DIFFERENCES AND SIMILARITIES OF BALLOT-
       MARKING DEVICES AND HAND-MARKED PAPER
       BALLOTS

       28.      I will begin by defining the specific implementation of a BMD for this

Declaration. Herein, when I refer to a BMD, I am specifically referring to an

implementation that has the following properties:




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             A.     The BMD does not record any voter information;

             B.     The BMD does not record any of the voter’s choices;

             C.     The BMD prints a paper ballot that contains a QR Code

                    containing the voter’s selections (unless specifically noted

                    otherwise in this section of my Declaration) and a ballot

                    summary reflecting the voter’s selections that is human-

                    readable; and

             D.     The paper ballot is fed into a separate machine or optical

                    scanner, that is separate and apart from the BMD, for

                    tabulation.

      29.    As noted previously, I understand Georgia’s BMD Voting System to

comply with Paragraph 28 (A–D).

      30.    Similarly, when I refer to hand-marked paper ballots, I am referring to

a system consisting of the following properties:

             A.     A voter marks his or her selections with a pen or pencil on a

                    paper ballot; and

             B.     The ballot is then fed into a machine or optical scanner which

                    tabulates the votes (unless otherwise specifically noted herein).

      31.    There are many similarities between a BMD Voting System and a

hand-marked paper ballot voting system.


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      32.     And, in my opinion, the similarities of both systems provide a

baseline confidence of security, but the advantages of a BMD system with respect

to undervotes, overvotes, auditability, and accessibility weigh in favor of a BMD

system.

       A.     The Similarities

      33.     Both BMD and hand-marked systems are paper based. This is very

different from the Direct Recording Equipment (DRE) that I understand Georgia

previously used. It is difficult, if not impossible, to effectively secure a voting

system that is only electronic; therefore, the National Academies report and I agree,

all elections should be paper based until the state of technology advances and

undergoes a rigorous review. Both BMD Voting Systems and hand-marked paper

ballot voting systems are appropriately recorded and secured by physical paper,

consistent with this recommendation.

      34.     Both are read by optical scanners. The scanners used by both BMD

and hand-marked paper ballot voting systems are the machines that actually record

votes (I understand that some jurisdictions hand-count paper ballots but I do not

understand Curling or Coalition Plaintiffs to seek that in this case. Accordingly,

though there are obvious issues with human error or malfeasance in hand-counting

election results, I will not discuss that herein).

              A.     Optical scanners are computers and they therefore may be


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                     susceptible to manipulation. However, this applies with equal

                     force to both BMD and hand-marked paper ballot voting

                     systems. This susceptibility is why audits are recommended for

                     both hand-marked paper ballot and BMD voting systems.

              B.     Additionally, optical scanners read both ballots in a similar

                     manner. In a BMD Voting System, the scanner reads a QR

                     Code. In a hand-marked paper ballot voting system, the scanner

                     does not read ballot text like a human would. Instead, the

                     scanner is translating coordinates of an oval or other mark into

                     coordinates that are coded to mark a vote for a candidate—

                     assuming the mark is within the specified coordinate space. As

                     such, in both systems, a scanner is translating information in a

                     similar manner under either system, using either coordinates or

                     a QR Code to translate into a recorded vote.

      35.     Both are auditable. Both BMD and hand-marked paper ballot voting

systems can be audited by an RLA or a recount to confirm the tallies of the optical

scanners. Since the human-readable record controls under either system, an audit or

recount can reveal any issues with the tally, whether due to a misread or

malfeasance. I understand Plaintiffs’ Experts dispute this, which I will address in

the rebuttal portions of this Declaration.


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       B.     The Differences

      36.     While there are many similarities between hand-marked paper ballot

and BMD voting systems, there are also some significant differences. Again, I will

continue to refer to both systems as defined above.

      37.     Undervotes. Generally, an undervote occurs whenever a voter

(consciously or inadvertently) does not vote in a race on their ballot.

              A.    Hand-marked paper ballot systems provide no limitation on

                    undervotes absent a poll-worker reviewing a voter’s ballot and

                    informing the voter of an undervote or the scanner being

                    programmed to reject a ballot due to detecting an undervote.

                    However, either of these remedies for hand-marked paper ballot

                    systems are problematic because (1) Georgia protects the

                    secrecy of the ballot and poll-worker review of individual

                    ballots could lead to intimidation; and (2) refusing to vote in a

                    particular race may be a conscious choice of a voter that he or

                    she is entitled to make.

              B.    BMD systems on the other hand often provide a notification, by

                    way of either an on-screen summary or the printed summary on

                    the ballot of no selection or something similar. This provides

                    voters a way to be privately informed of their undervote and


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                  remedy it if they so choose. I have not personally observed this

                  notification on the Dominion BMD but I understand Georgia’s

                  implementation of that BMD does confirm this via both an on-

                  screen summary and human-readable text on the ballot.

            C.    Undervote Hack. Hand-marked paper ballot systems are subject

                  to undervote attacks with only a pen or pencil that no scanner or

                  audit would catch. This is a significant vulnerability from an

                  election security perspective that is rarely discussed. In the case

                  of a hand-marked paper ballot undervote, no mark is made on a

                  ballot and the “oval” is left blank. In a matter of seconds an

                  insider could fill in any undervotes with their preferred

                  candidate and the only way to detect this attack would be to

                  catch them in the act. It is not possible on a printed BMD ballot

                  to interfere with an election in this simple manner.

            D.    Disparate Impact on Minority Voters. I have reviewed the

                  Report of the 21st Century Voting Commission submitted to

                  Governor Roy Barnes in December 2001.1 Concerningly, that


1
 Report of the 21st Century Voting Commission, 18-19 (December 2001)
(available at
https://www.sos.state.co.us/pubs/elections/VotingSystems/files/2015/21stCenturyR
eport.pdf) (hereinafter 21st Century Report).

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                     Commission’s review of data from the 2000 Presidential

                     Election in Georgia found that undervote rates2 were higher in

                     predominantly black precincts than in predominantly white

                     precincts, both of which used systems that permit undervotes.

                     While I have not personally conducted research on this finding

                     or reviewed the underlying data, I have no reason to doubt the

                     Commission’s work—the finding is disturbing and should be

                     addressed before any switch to a system that permits

                     undervotes.

      38.     Overvotes. An overvote occurs when a voter selects more candidates

than is permitted in an election.

              A.     A hand-marked paper ballot system, just as in undervoting,

                     provides no limitation to prohibit overvoting. In theory, a

                     scanner could be programmed to reject an overvoted ballot, but

                     in practice this could result in long lines and delayed voting at

                     precincts when the voter has to re-mark a new ballot. This could


2
  Due to lack of data available at the time, the Commission indicates the undervote
rate it found also includes overvotes. In other words, an overvote (marking to
candidates for the same race) led to a non-vote in that race and due to the way that
data was collected at the time non-votes were all counted as overvotes.
Accordingly, this finding may apply with equal force to overvotes, but more
research would need to be conducted.

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           lead to voter frustration and voters choosing not to vote.

           Further, I am not aware of any research or data showing this is

           an effective method of eliminating overvotes. Poll-worker

           review of ballots presents the same problems discussed in

           Paragraph 36(A).

     B.    BMD voting systems, on the other hand, eliminate this

           problem. Again, I have not personally used a Dominion BMD

           as configured for Georgia, but I understand that if a voter

           attempts to overvote in a particular race on a Dominion BMD it

           will prohibit that voter from doing so. The voter must de-select

           their other choice before being permitted to select a new choice.

     C.    Overvote Hack. This is another vulnerability that is rarely

           discussed but is a real threat that requires only a pen or pencil

           and no specific training or sophistication. For example, if a

           voter selects Bugs Bunny for Governor of Georgia but an

           insider wants Daffy Duck to win, an insider can simply

           overvote the ballot for Daffy Duck. In such a scenario the ballot

           then may be either an uncounted vote that was intended to be

           cast for Bugs Bunny or worse, a decision regarding voter intent

           is later made to count the ballot for Daffy Duck. It is not


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                   possible on a printed BMD ballot to interfere with an election in

                   this simple manner.

      39.    Auditability, Recounts, and Voter Intent. While, as mentioned in the

Similarities section above, both hand-marked paper and BMD voting systems can

be audited, BMD voting systems provide significant advantages in this context.

             A.    A hand-marked paper ballot can be marked in any way a voter

                   chooses. This results in marks that may be read by the scanner

                   differently from the way the voter intended (e.g. a stray mark in

                   a different bubble) or may not be read at all. This would not

                   require criminal conduct but the effect of not recording a

                   voter’s intent accurately is the same. Moerover, this results in a

                   situation where officials conducting an audit must interpret the

                   voter’s intent—the worst-case scenario for an audit or recount.

             B.    The primary goal of having a paper ballot is to enable an audit

                   to ensure the integrity of the election; therefore, the audit or

                   manual recount is the final say in the election outcome. If the

                   auditability of the ballots is compromised, then the

                   audit/recount fails. This has been seen in many elections

                   starting with Florida’s 2000 Presidential Election and later in

                   elections that used HMPB like the 2008 Minnesota Senate Race


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           or the 2010 Alaska Senate Race. Some will argue that these

           ballots are a minority and that is true, but they exist and still

           could have an impact on a close election.

     C.    Ambiguous marks cannot occur on a BMD: the voter’s intent is

           clear in the ballot summary and an auditor will not be asked to

           interpret voter intent.

     D.    Some will argue that the QR Code is not human-readable;

           therefore, this is a problem. This is only an issue if the QR

           Code is the ballot of record and there is no RLA and/or pre-

           election testing. If QR Codes are inconsistent with the human-

           readable portion of the ballot, this will be detected during the

           RLA and may signal a full manual recount.

     E.    A QR Code can also be examined during pre-election testing or

           post-election audits or recounts to confirm its validity.

     F.    Finally, in the future, a QR Code may provide a stronger audit

           trail to detect errors or malfeasance. A QR code could be

           programmed to contain information to trace a ballot back to a

           particular precinct or machine. While I understand this

           particular feature has not yet been approved by the Election

           Assistance Commission, so long as this can be done in the


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                     future without compromising ballot secrecy, this is a significant

                     advantage to uncovering issues by way of audits.

              G.     Even without this additional advancement in technology, in my

                     opinion, a QR Code provides a significant advantage in

                     auditing because it can unambiguously reveal malfeasance or

                     errors. And because the ballots contain the voter’s selection in

                     human-readable format which controls in any recount or audit,

                     an error could be remedied by a manual recount.

      40.     Accessibility. As mentioned elsewhere in this Declaration, a

significant portion of my research and the motivation behind the Prime III voting

system is the accessibility of elections systems. Simply put, a hand-marked paper

ballot system is not accessible to voters with disabilities while a BMD system is.

While this presents policy and legal problems, it also exacerbates security

vulnerabilities in elections.

              A.     First, voters with certain disabilities cannot use hand-marked

                     paper ballots without human assistance which violates their

                     privacy. For example, a blind voter cannot use a paper ballot at

                     all without assistance and a voter with limited motor function

                     and coordination may also have difficulty properly marking a

                     ballot on his or her own. The same may be true for certain


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           elderly voters whose motor skills are declining.

     B.    BMD systems however are more accessible to these voters.

           BMDs are easier to touch for voters with weak motor skills

           and/or have adaptations for use with the same device. Similarly,

           BMD systems can audibly dictate to a voter their choices on the

           same machine that the general populace uses. Again, while I

           have not personally used the Dominion BMD system as

           procured for Georgia, I understand that it has this capability. It

           has adaptations for a control, audible instructions and feedback,

           and even an adaptation for a sip-and-puff device for severely

           disabled voters. Even for those without a severe disability,

           BMDs have the capability to increase text size and change text

           color to enhance readability.

     C.    When hand-marked paper ballot systems have been

           recommended in other contexts, it is often due to the alleged

           vulnerabilities of a particular voting system. However, in many

           instances proponents of hand-marked paper ballots while

           arguing that BMDs are insecure suggest that it is OK for people




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                   with disabilities to vote on. This is unacceptable3 in my opinion

                   and threatens the security of an election.

             D.    If individuals with disabilities vote one way and everyone else

                   votes a different way, this provides fertile ground for an attack.

                   When an attacker knows the specific limitation of the

                   population using a certain system, it is easier for that attacker to

                   tailor an attack without being detected.

             E.    Further, the number of disabled voters may be larger than the

                   margin of victory in many critical jurisdictions. For example, it

                   is estimated that disabled eligible Georgia voters numbered

                   approximately 1.136 million, 16.1% of all eligible voters, in the

                   2016 elections4 and nationwide turnout of disabled voters was

                   estimated at 55.9%.5 Using this rough estimate, approximately

3
 While I understand certain federal or state laws may be implicated by the scenario
described here, I am not a lawyer and am not offering any opinion on the legal
sufficiency of any system.
4
 Projecting the Number of Eligible Voters with Disabilities in the November 2016
Elections, L. Schur and D. Kruse, Rutgers University (2016) (available at
https://smlr.rutgers.edu/sites/default/files/documents/faculty_staff_docs/Kruse%20
and%20Schur_Disability%20electorate%20projections%202016_9-8-16.pdf).
5
  L. Schur, Disability, Voter Turnout, and Polling Place Accessibility, Presentation
to National Academies of Sciences, Engineering, and Medicine’s Committee on
the Future of Voting (Jun. 2017) (available at
https://sites.nationalacademies.org/cs/groups/pgasite/documents/webpage/pga_180
931.pdf).
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                        635,000 disabled voters cast votes in Georgia in 2016, far

                        greater than the 211,411-vote difference between Donald

                        Trump and Hillary Clinton in Georgia.6

              F.        Setting aside my concerns regarding voter accessibility, from a

                        security perspective, it is better to have a diversity of voters

                        using the same equipment rather than isolating a certain

                        demographic of voters by type of equipment or voting process.


IV.    REBUTTAL              OF     PLAINTIFFS’            DECLARATIONS               AND
       EXHIBITS

       A.     October 2, 2019 Declaration of Dr. J. Alex Halderman

      41.     I have reviewed the Declaration of Dr. J. Alex Halderman, dated

October 2, 2019, and filed with this Court, all Paragraph references herein refer to

that document, [Doc. 619-2], unless explicitly stated otherwise. I offer the following

opinions in rebuttal.

      42.     In Paragraph 3, Dr. Halderman states “important databases, files,

computers, and personnel will carry forward from the current election system (the

“GEMS/DRE System”). This means that vulnerabilities in these aspects of the

GEMS/DRE System will also affect the security of the [Georgia BMD Voting

System].”

6
 Georgia Secretary of State, November 8, 2016 Election Results (available at
https://results.enr.clarityelections.com/GA/63991/184321/en/summary.html).

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       43.    As a preliminary matter, it is unclear to me what, exactly, Dr.

Halderman means to say will “carry forward,” but it appears contrary to the facts of

Georgia’s BMD Voting System. In any event, the Georgia BMD System includes a

new EMS which replaces the old GEMS in its entirety and there is simply no

software continuity between the two systems to transmit viruses or malware. If he is

referring to the general framework of building ballot combinations and ballot data

then that is a separate matter entirely for two reasons. First, I understand that

Georgia law requires export files from any Voter Registration System to be scanned

with anti-virus and anti-malware software before use in any other elections system

along with endpoint protection and a host of other requirements regarding security

of any existing voter database files.7 Second, this assertion is irrelevant to the

security of the new BMD Voting System itself since there is no software or

hardware connection to infect the new equipment. I assume that some personnel

will remain in the Secretary of State’s Office, but I also assume Dr. Halderman is

not suggesting that all personnel be removed or that the Secretary’s Office has been

infiltrated by attackers employed there. Simply put, the Georgia BMD system is an

entirely new and separate Voting System.

       44.    In Paragraph 4 Dr. Halderman states that “BMDs are computers,

meaning they are susceptible to hacking.” I agree that generally any computer can

7
    O.C.G.A. § 45-13-20; Ga. Comp. r. & Reg. 590-8-3-.01.

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be hacked, but I understand Plaintiffs’ proposed systems to also utilize computers

for voter registration and computerized scanners for tabulation. These can also, in

theory, be hacked. Additionally, as described above, hand-marked paper ballots

themselves can be “hacked” by far less sophisticated means. In sum, the general

statement that computers can be hacked is no justification to remove all computers

from any type of interaction with voting and elections systems.

      45.     In Paragraph 5, Dr. Halderman states that use of barcodes generally

increases the “attack surface.” I do not generally dispute this is the case. And in

Paragraph 6, Dr. Halderman goes on to explain a “plausible attack scenario” where

a barcode is altered to encode a vote for one candidate but the summary remains for

the other.8 As Dr. Halderman acknowledges though, an effective RLA would catch

this “plausible scenario.”

      46.     But, Dr. Halderman’s “plausible attack scenario” could occur with a

hand-marked paper ballot system. As previously discussed, an insider could simply

mark ballots (resulting in a ballot not counting or counting differently than the view

of the ballot when the voter completed it) or an attack could be made on optical

scanners to re-code how the ballot reads a legitimate mark. And, again, a scanner is

not reading the text of a ballot in either system, it is translating either coordinates

8
  As an aside, I do not understand “barcodes,” as commonly known, to be at issue
in this case. Instead, the Dominion BMD System uses QR codes. For the sake of
argument and clarity, I will not correct Dr. Halderman’s terminology.

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(hand-marked ballot) or a QR code (BMD ballot) into a vote.

      47.     In Paragraphs 9-11 Dr. Halderman discusses a contemplated update to

the Dominion BMD System available after certification by the United States

Election Assistance Commission. First, EAC certification is a significant point, in

and of itself: Certification means that a system complies with the security and

fidelity requirements of the federal agency charged with this task and is necessary

to provide assurance of a voting system’s integrity. Importantly, the Dominion

System that Georgia is deploying has been certified by the EAC. Second, I would

be surprised if Dr. Halderman believes that Georgia should use a non-certified

system, in which case I am unsure what his assertion is other than he prefers BMD

systems which use Optical Character Recognition (“OCR”) even though it has not

yet been certified.

      48.     In Paragraphs 12–17, Dr. Halderman generally asserts that BMD

systems cannot be voter-verified and therefore cannot be audited. For reasons stated

previously, I believe this broad assertion is incorrect (in fact, in my opinion, BMD

ballots with two forms of vote recordation may be a more reliable record for

auditing). I provide the following specific points rebutting this assertion.

      49.     First, Dr. Halderman cites his own research at the University of

Michigan which is apparently undergoing peer review now. I cannot specifically

rebut the underlying data since he did not provide it.


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      50.    Second, footnote 4 of Dr. Halderman’s declaration summarily states

that certain reminders improved this percentage, but Dr. Halderman chose not to

include those numbers in his declaration. He further did not document the numbers

regarding the interventions he says “had no effect.” Surely Dr. Halderman is aware

that H.B. 316 requires signage in each polling booth reminding voters to check their

ballots, it is surprising to me he would not include this number. In the same

footnote, he concludes further research and testing are necessary to establish

whether interventions are effective. However, he certainly would also agree that

further research must be done to establish the 6.5% rate of participants noticing a

ballot change must be conducted to conclusively establish that assertion.9

      51.    Conversely, I am aware that Dr. Michale Byrne, Professor of

Psychology at Rice University, has conducted research that shows significant gains

in voters reviewing their ballots when a poll worker prompts them to do so.

      52.    In Paragraph 16 Dr. Halderman states “It is true that voters using

hand-marked paper ballots also make errors. However, for the most part, human

errors in hand-marked paper ballots tend to be random. Errors that favor a candidate


9
  Again, I cannot conclusively comment on this without any of the data backing up
Dr. Halderman’s assertions, but logically one would need to also control for the
real impact of a real election in such a study. In other words, a voter’s knowledge
and thought about voting for a candidate leading up to an election is far different
than a mock election voting for people who may not be real, or just an election
which we know is not real.

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tend to be largely canceled out by errors that disfavor that candidate. This has a

tendency to equalize the effect of errors across parties or ideologies.” Dr.

Halderman provides no evidence or data to support either claim: that hand-marked

paper ballot “errors are random;” and that they equalize or cancel each other out.

        53.    As to Dr. Halderman’s assertion that the marks are random, there is no

indication on a hand-marked paper ballot that a mark is indeed “random.” Instead,

the mark may be evidence of the intention of a voter to cross-out or circle a

candidate, disregarding the instructions. In any event, the conclusory statement here

does not establish marks as a general rule are “random” without any evidence or

support.

        54.    Additionally, the 21st Century Report I referenced earlier tends to

negate his assertion that the errors cancel each other out. There, overvotes and

undervotes on hand-marked paper ballots were far more prevalent in majority-

minority precincts.10 Regardless, this conclusory statement is not supported by any

peer-reviewed evidence cited by Dr. Halderman or that I am generally aware of.

        55.    In Paragraph 15, Dr. Halderman states that if a problem were

discovered that altered both the ballot summary and the QR Code then the only

remedy would be to rerun the election. But the same is true with hand-marked paper

ballots. If a bad actor altered hand-marked paper ballots by marking them

10
     21st Century Report, supra n. 1, pp. 18-20.

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(completing undervotes, purposely adding overvotes, or simply attempting to spoil

ballots with ambiguous marks) to influence an election (or maybe even just poor

ballot design and confusion), there would be no evidence indicating which mark is

the “correct” mark. Accordingly, the only corrective action that could be taken is

the same: a rerun of the election.

      56.     Moreover, under Dr. Halderman’s “plausible attack scenario,” of an

attacker altering the QR Code but not the summary, a hand-marked paper ballot

would be worse. With a BMD system, a properly conducted RLA would detect an

attack and the human readable portion is again the official ballot of record.11 Under

a hand-marked paper ballot system, if a bad actor marks ballots, an RLA could not

conclusively determine malfeasance had occurred.



       B.     October 22, 2019 Declaration of Philip B. Stark

      57.     I have reviewed the Declaration of Philip B. Stark, dated October 22,

2019, and filed with this Court, all Paragraph references herein refer to that

document, [Doc. 640-1, pp. 40–45], unless explicitly stated otherwise. I offer the

following opinions in rebuttal.
11
  I note here that Plaintiffs’ experts will presumably assert that a BMD cannot be
verifiable because the QR code cannot be read by the naked eye. However, Dr.
Halderman has already stated interventions which he believes increase
verifiability, I have additionally pointed to Dr. Byrne’s research, and Dr.
Halderman has provided no evidence as to the review voters conduct on a hand-
marked paper ballot.

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      58.     Dr. Stark12 states in Paragraph 2 that “BMDs are essentially as

vulnerable as the DRE machines they would replace, despite the fact that BMDs

generate a ‘voter-verifiable’ paper trail.” I fundamentally disagree with this

statement and it, in my opinion, is misleading. As an expert in the field of elections

and developer of a voting system myself, paper-ballot based BMDs are more secure

than DREs. Moreover, the National Academies Securing the Vote Report agrees

BMDs are more secure as well. I am familiar with Dr. Stark and can only assume

that the term “essentially” is being used to carry that statement.

      59.     In Paragraph 5, Dr. Stark states “Bugs, misconfiguration, or malicious

hacking can cause the BMD to print something other than the selections the voter

made on the touchscreen or accessible interface. Hand-marked paper ballots do not

have that vulnerability.” This is simply not true. To my knowledge, every

jurisdiction using hand-marked paper ballots has processes in place to determine

voter intent, because marks on a hand-marked paper ballots can be ambiguous, as

previously discussed. Additionally, poor ballot design can cause voter intent to be

unclear with hand-marked paper ballots, even where there is no ambiguous mark—

for example, a voter may think an “oval” corresponds to a different candidate. This

is the same vulnerability Dr. Stark is describing, a ballot that does not clearly reflect

12
   I understand Dr. Stark to be a statistician, but he appears to offer opinions
regarding computer and elections security and not statistics. Nonetheless, I will
address his contentions.

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a voter’s intent whether due to malfeasance or human error.

      60.      In Paragraph 7, Dr. Stark goes on to state: “If an audit or inspection of

a BMD happens to discover a malfunction, there is in general no way to tell

whether the malfunction altered electoral outcomes, nor any way to determine the

correct electoral outcomes.” The BMDs, however, are not recording or tallying

votes, they are producing paper ballots which can be reviewed and confirmed by a

voter. In essence, a BMD is nothing more than an ink pen—but one that can avoid

ambiguous marks that belie voter intent.

      61.      In Paragraph 8, Dr. Stark states that BMDs are not “strongly software

independent” and that only hand-marked paper ballots can detect whether a

malfunction altered the outcome. First, I disagree with Dr. Stark that hand-marked

paper ballots are “strongly software independent.” For example, if undervote and

overvote hacks occur with paper ballots, there’s no way to recover the election

other than a do over. As such, hand-marked paper ballots are not “strongly software

independent” Instead, I believe that both BMDs and hand-marked paper ballots

have the same property of being software independent but not strongly software

independent.

      62.      Regardless of semantics, this statement simply misses the point. Take,

for example, the 2018 Election to United States Senate in Florida. In that race, there

was a severe undervote in the Senate race—more than 24,000 voters who voted in


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the race for Governor failed to vote in the U.S. Senate race with a margin of victory

of about 11,000—and a consensus has developed that this was due to poor ballot

design.13 In this instance, there is still no remedial action other than simply counting

the ballot that likely contained an error, regardless of software independence.

      63.     In Paragraph 13, Dr. Stark references a paper titled “What Voters Are

Asked to Verify Affects Ballot Verification: A Quantitative Analysis of Voters’

Memories of Their Ballots” to support his claim that voters are not good at

verifying their ballot summaries.14 This is a flawed study and this paper was not

subject to peer review. In that study, they asked voters to recall ballot information

after they had voted and they did not conduct any comparison with hand-marked

paper ballot voters. Additionally, the study was conducted by asking voters to

review a ballot outside the polling place. Accordingly, the study did not reflect

whether voters with a hand-marked paper ballot could recall their votes and further

it apparently tested short-term memory—not verification in the precinct of a freshly

printed ballot.




13
  See, e.g., Florida Recounts Senate Votes Yet Again, and Nelson’s Chances
Dwindle, New York Times, Nov. 16, 2018 (available at
https://www.nytimes.com/2018/11/16/us/rick-scott-bill-nelson-recount.html).

14
 Notably, Marilyn Marks, who I understand to be affiliated with the Coalition for
Good Governance, a Plaintiff in this case, is listed as a contributor to this paper.

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       C.    October 22, 2019 Declaration of Kevin K. Skoglund

      64.    I have reviewed the Declaration of Kevin K. Skoglund, dated October

22, 2019, and filed with this Court, all Paragraph references herein refer to that

document, [Doc. 640-1, pp. 47–66], unless explicitly stated otherwise. I offer the

following opinions in rebuttal.

      65.    In Paragraphs 23–24, Mr. Skoglund seems to offer the opinion that

voting by hand-marked paper ballot is faster than voting by BMD paper ballot. He

does so without any evidence or support for this proposition. However, in an

internal study I conducted with others while at Clemson University we found the

opposite—that voting by BMD is faster than hand-marked paper ballot.

      66.    In Paragraph 25, Mr. Skoglund references touchscreen miscalibration

errors. However, these are exceedingly rare in modern touchscreen BMDs unlike

older DRE touchscreen machines.

      67.    In Paragraph 30, Mr. Skoglund cites to a paper titled “How To Build

an Undervoting Machine: Lessons from an Alternative Ballot Design,” in support of

his assertion that “[s]everal studies have shown that a significant number of voters

do not verify machine-generated ballots carefully and do not detect errors.”

However, this cited paper doesn’t discuss machine-generated paper ballots at all

and instead concerns user interface design of BMDs and DREs. Mr. Skoglund also

cites to the same unreliable study conducted by Richard DeMillo, Robert Kadel,


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and Marilyn Marks that Dr. Stark used. For the reasons stated in Paragraph 13, I

find this unpersuasive.

      68.     Mr. Skoglund makes several conclusory statements regarding the

appearance of ballot summaries and abbreviations contained therein. However, he

notably cites to no authority for his conclusions regarding the ability of voters to

comprehend summaries and makes no allegations pertaining to a Georgia BMD-

conducted election.

      69.     In Paragraph 37, Mr. Skoglund generally states that ballot summaries

cannot be a reliable source for an audit because you cannot be sure it was properly

verified. For the same reasons stated elsewhere in my Declaration, I find this

unpersuasive.

       D.     Curling Plaintiffs’ Exhibit 3: Def Con 27 Voting Machine
              Hacking Village Report

      70.     I have reviewed the Def Con 27 Voting Machine Hacking Village

Report filed with this Court, [Doc. 619-9]. I offer the following opinions in rebuttal.

      71.     I am familiar with the Def Con Voting Machine Hacking Village,

generally. This Report appears to assert several conclusory statements regarding

hackability of voting machines with unlimited access. I do not see much to

comment on in the Report largely because the Dominion Precinct Hybrid Scanner

appears to be different than the system procured for Georgia. As such, I am not sure

of the report’s relevance.

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       E.    Curling Plaintiffs’ Exhibit 4: Paper authored by Appel, DeMillo,
             and Stark.

       72.   I have reviewed the Paper attached as Exhibit 4 to Curling Plaintiffs’

Brief, filed with this Court at [Doc. 619-10], I offer the following opinions in

rebuttal.

       73.   I find this Paper to be largely repetitive of previous assertions and will

not waste the time of the Court by repeating them herein.

       74.   I agree with several points contained in this paper though. For

example, I agree that that all-in-one devices should not generally be used in

elections—but Georgia’s BMD System is not an all-in-one system. Also, a BMD

that separately prints a ballot with a readable ballot summary and scanned at a

separate precinct based optical scanner with no printer head is not so insecure as to

never be used.

       75.   I differ, however, with their conclusion that BMDs with separate

scanners should only be used by disabled voters who cannot use a hand-marked

paper ballot. As previously discussed, such a statement is inherently flawed in that

it is permissible for a subset of voters to use a BMD Voting System but not the

general populace, and further that segregating such voters only exacerbates

concerns of manipulation.



[signature on next page]

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I declare under penalty of perjury that the foregoing is true and correct. Executed

this _13__ day of November, 2019.



                                      ____________________________________
                                      Juan E. Gilbert, Ph. D.




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